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                                             COURT MINUTES                                               Page 1

                         Chief Magistrate Judge Jonathan Goodman
                        King Building Courtroom 11-3                       Date: 3/14/25        Time: 10:00 a.m.
Defendant: Roscow Anderson Strachan J#: 14057-506 Case #: 25-cr-20108-Martinez/
Sanchez AUSA: Jeremy Fugate                                   Attorney: AFPD, Helene Barthelemy
Violation:    Conspiracy to Distribute Cocaine; Distribution of Cocaine
Proceeding: Arraignment                                        CJA Appt:
Bond/PTD Held: Yes      No               Recommended Bond:

Bond Set at: STIP-Pretrial Detention                            Co-signed by:
     Surrender and/or do not obtain passports/travel docs             Language: English
     Report to PTS as directed/or            x’s a week/month by      Disposition:
     phone:          x’s a week/month in person                         *Brady order given on 3/5/25*
     Random urine testing by Pretrial Services                         Defendant Arraigned. Reading of
     Treatment as deemed necessary
                                                                       Indictment Waived. Not Guilty plea
     Refrain from excessive use of alcohol
                                                                       entered. Jury Trial demanded. Standing
     Participate in mental health assessment & treatment
                                                                       Discovery Order requested.
     Maintain or seek full-time employment/education
     No contact with victims/witnesses
     No firearms
     Not to encumber property
     May not visit transportation establishments
     Home Confinement/Electronic Monitoring and/or
     Curfew          pm to           am, paid by
     Allowances: Medical needs, court appearances, attorney visits,
     religious, employment
     Travel extended to:                                                Time from today to ______ excluded from
     Other:                                                             Speedy Trial Clock

NEXT COURT APPEARANCE    Date:               Time:           Judge:                        Place:
Report RE Counsel:
PTD/Bond Hearing:
Prelim/Arraign or Removal:
Status Conference RE:
D.A.R. JG-10:01:08                                                    Time in Court: 4 mins.
